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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


 IN RE: COOK MEDICAL, INC., IVC FILTERS
                                                             Case No. 1:14-ml-2570-RLY-TAB
 MARKETING, SALES PRACTICES AND
                                                                               MDL No. 2570
 PRODUCTS LIABILITY LITIGATION

 This Document Relates to Plaintiff:
 JACK SWEAT
 Civil Case #1:20-cv-529


         ORDER GRANTING MOTION TO SUBSTITUTE PARTY PLAINTIFF


         THIS MATTER, having come before this Court, upon the Plaintiff’s Motion to Substitute

Party (Dkt. 22401), and the Court being otherwise fully advised in the premises, that

Plaintiff’s motion to substitute a party is granted.

         IT IS THEREFORE ORDERED that Susan Armstrong on behalf of the Estate of Jack

Sweat, is substituted as Plaintiff in this case, and that all future pleadings shall reflect the proper

party.

         Date: 8/10/2022
                                                  _______________________________
                                                    Tim A. Baker
                                                    United States Magistrate Judge
                                                    Southern District of Indiana




Distribution to all registered counsel of record via CM/ECF.
